          Case 2:19-cv-02280-PD Document 22-1 Filed 08/06/19 Page 1 of 38




                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

VISIONQUEST NATIONAL, LTD                   )
             Plaintiff,                     )     CIVIL ACTION
     v.                                     )     No. 19-2280-PD
                                            )
CITY OF PHILADELPHIA,                       )     Oral Argument Requested
              Defendant.                    )
                                            )

 MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S RESPONSE
IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS THE FIRST
                  AMENDED COMPLAINT



Dated: August 6, 2019

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{HL942263.4}
          Case 2:19-cv-02280-PD Document 22-1 Filed 08/06/19 Page 2 of 38



                                              TABLE OF CONTENTS

INTRODUCTION .....................................................................................................1
FACTS AND PROCEDURAL HISTORY ...............................................................1
ARGUMENT .............................................................................................................2
         I.       Standard of Review ...............................................................................2
         II.      The Controversy Is Ripe for Decision ..................................................3
         III.     Plaintiff Has Standing to Pursue a Claim Under 48 U.S.C. §1983 for
                  Violation of its Substantive Due Process Rights ..................................6
                  A.       Plaintiff Asserts a Substantive Due Process Claim on Its
                           Own Behalf .................................................................................7
                  B.       Plaintiff has Standing to Assert a Claim as a “Class of One”
                           Under the Equal Protection Clause of the Constitution ............11
         IV.      The Court Should Deny Defendant’s Motion to Dismiss Plaintiff’s
                  Claims Under the Fair Housing Act ....................................................12
                  1.       The Court Should Not Dismiss Plaintiff’s FHA Claim
                           Based Upon Defendant’s Improper, Fact-Sensitive
                           Argument that the Proposed Facility is Not a “Dwelling”
                           Under the FHA. .........................................................................13
                  2.       Plaintiff Has Met the Pleading Standards to Assert a
                           Claim for “Disparate Treatment” Under the FHA, Where
                           Plaintiff has Alleged that it was Prevented from
                           Providing Residential Housing Services Based Upon the
                           National Origin or Familial Status of its Proposed
                           Residents. ..................................................................................18
                  3.       Plaintiff Has Met the Pleading Standards to Assert a
                           Claim for “Disparate Impact” Under the FHA, where
                           Plaintiff has Alleged that it was Prevented from
                           Providing Residential Housing Services Based upon the
                           National Origin or Familial Status of its Proposed
                           Residents, and Where the City has Express Policies in
                           Place Regarding Federal Immigration Enforcement
                           Efforts........................................................................................18



{HL942263.4}                                                i
          Case 2:19-cv-02280-PD Document 22-1 Filed 08/06/19 Page 3 of 38



         V.       The Court Should Retain Jurisdiction Over This Dispute, Which
                  Impacts Plaintiff’s Federal Rights and Implicates Important Issues of
                  Federal Policy ......................................................................................21
                  1.       No Extraordinary Circumstances Exist to Justify
                           Abstention Under Younger .......................................................21
                  2.       The Complaint Raises No Unsettled Question of State
                           Law, Therefore the Pullman Abstention Doctrine Does
                           Not Dictate Abstention in this Case ..........................................26
CONCLUSION ........................................................................................................30




{HL942263.4}                                               ii
           Case 2:19-cv-02280-PD Document 22-1 Filed 08/06/19 Page 4 of 38



                                                Table of Authorities


Cases

Acierno v. Cloutier, 40 F.3d 597, 616 (3d Cir. 1994) ...............................................7

Acierno v. Mitchell, 6 F. 3d 970 (3d Cir. 1993) ........................................................4

ACRA Turf Club, LLC v Zanzuccki, 748 F.3d 127, (3d Cir. 2014) .......... 21, 22, 23

ACS Enters. V. Comcast Cablevision, L.P., 1994 U.S. Dist. LEXIS 6256 (E.D. Pa.
 May 12, 1994).......................................................................................................29

Adarand Constructors, Inc. v. Pena, 515 U.S. 200 (1995) ........................................8

Addiction Specialists, Inc. v. Township of Hampton, 411 F.3d 399 (3d Cir. 2005)
  ..............................................................................................................................25

Assocs. in Obstetrics & Gynecology v. Upper Merion Twp., 270 F. Supp. 2d 633,
 (E. D. Pa. 2003) ..................................................................................................8, 9

Baker v. McCollan, 443 U.S. 137 (1979) ..................................................................7

Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007) ....................................................2

Berry v. John Doe Managers, 1991 U.S. Dist. LEXIS 10159 .................................13

Cherry Hill Towers LLC v. Township of Cherry Hill, 407 F. Supp. 2d 648 (D.N.J.
 2006) .......................................................................................................................8

Chez Sez III Corp. v. Union, 945 F.2d 628 (3d Cir. 1991) .....................................28

CMR D.N. Corp. v. City of Philadelphia, 703 F.3d 612 (3d Cir. 2013) ...................4

Cmty. House, Inc. v. City of Boise, 490 F.3d 1041 (9th Cir. 2007)........................15

Connecticut Hosp. v. City of New London, 129 F. Supp. 2d 123 (D. Conn. 2001)15

Cornell Cos. v. Borough of New Morgan, 512 F. Supp. 2d 238 (E.D. Pa. 2007) ...10

{HL942263.4}                                                   iii
           Case 2:19-cv-02280-PD Document 22-1 Filed 08/06/19 Page 5 of 38



DeBlasio v. Zoning Board of Adjustment, 53 F.3d 592 (3d Cir. 1995) ....................7

Dr. Gertrude A. Barber Ctr., Inc. v. Peters Twp., 273 F. Supp. 2d 643 (W.D.Pa.
 2003) .....................................................................................................................13

Ecotone Farm LLC v. Ward, 639 Fed. Appx. 118 (3d Cir. 2016).............................9

Estate of Smith v. Marasco, 318 F.3d 497 (3d Cir. 2003) .........................................9

Fowler v. UPMC Shadyside, 578 F.3d 203 (3d Cir. 2009) .....................................11

Garcia v. Condarco, 114 F. Supp. 2d 1158 (D.N.M. 2000).............................. 15, 16

Godfrey v. Upland Borough, 246 F.Supp. 3d 1078 (E.D.Pa. 2017) ........................26

Gynedd Props., Inc. v. Lower Gwynedd Twp., 970 F.2d 1195 (1992) ...................25

Havens Realty Corp. v. Coleman, 455 U.S. 363 (1982)..........................................13

Heck v Humphrey, 512 U.S. 477 (1994) ...................................................................3

In ReMed Recovery Care Ctrs. v. Township of Willistown, 36 F. Supp. 2d 676
  (E.D. Pa. 1999) .....................................................................................................13

Johnson v. Dixon, 786 F. Supp. 1 (D.D.C. 1991) ....................................................15

Kessler Inst. For Rehabilitation v. Mayor of Essex Fells, 876 F. Supp. 641 (D.N.J.
 1995) .....................................................................................................................29

Knick v. Township of Scott Pennsylvania, 588 U. S. ___ (2019) ............ 3, 4, 25, 26

Kobrick v. Stevens, 2017 U.S. Dist. LEXIS 141694 .................................................8

Lakeside Resorts Enters., LP v. Bd. of Supervisors, 455 F.3d 154 (3d Cir. 2006)
  ...................................................................................................................... .14, 17

MARJAC, LLC v. Trenk, 380 Fed. Appx. 142 (3d Cir. 2010) .................................9

Mark v. Borough of Hatboro, 51 F.3d 1137 (3d Cir. 1995) ......................................7


{HL942263.4}                                                  iv
           Case 2:19-cv-02280-PD Document 22-1 Filed 08/06/19 Page 6 of 38



Matheny Sch. & Hosp. v. Borough of Peapack & Gladstone, 2014 U.S. Dist.
 LEXIS 117786 (D.N.J. August 25, 2014) ............................................................22

Midnight Sessions, Ltd. v. City of Philadelphia, 945 F.2d 667 (3d Cir. 1991).....4, 7

Miller v. City of Philadelphia, 174 F.3d 368 (3d Cir. 1999) .....................................8

New Jersey-Philadelphia Presbytery of Bible Presbyterian Church v. New Jersey
 State Bd. of Higher Education, 654 F.2d 868 (3d Cir. 1981) ....................... 26, 29

Patel v. City of Belleville, Ill., 720 F. Supp. 720 (S.D. Ala. 1979) .........................15

Peters v. City of Wilkes-Barre, 2016 U.S. Dist. LEXIS 9540 (M.D. Pa. Jan. 27,
  2016) .....................................................................................................................23

Pierce v. Allegheny County Bd. Of Elections, 324 F. Supp. 2d 684 (W.D. Pa.
  2003) .....................................................................................................................27

Planned Parenthood v. Farmer, 220 F.3d 127, 149-50 (3d Cir. 2000) ....................27

Railroad Commission of Texas v. Pullman Co., 61 S.Ct. 643 (1941).....................26

Rittenhouse Entm't, Inc. v. City of Wilkes-Barre, 861 F. Supp. 2d 470 (M.D. Pa.
  2012) .......................................................................................................................9

Sameric Corp., Delaware v. City, Philadelphia, 142 F.3d 582 (3d Cir. 1998) . 4, 5, 7

Schneider v. County of Will, 190 F. Supp. 2d 1082 (N.D. Ill. 2002)......................15

Schoenstein v. Constable, 2014 U.S. Dist. LEXIS 165508 (D.N.J. Nov. 26, 2014)
  ..............................................................................................................................25

Schwarz v. City of Treasure Island, 544 F.3d 1201 (11th Cir. 2008) .....................14

Selig v. N. Whitehall Twp. Zoning Hearing Bd., 2018 U.S. Dist. LEXIS 69119
  (E.D. Pa. April 24, 2018) ......................................................................................24

Solt v. Alpo Petfoods, 837 F. Supp. 681 (E.D. Pa. 1993) .......................................10



{HL942263.4}                                                    v
           Case 2:19-cv-02280-PD Document 22-1 Filed 08/06/19 Page 7 of 38



Southwest Key Programs, Inc. v. City of Escondido, 2017 U.S. Dist. LEXIS 42618
  (S.D.Cal. Mar. 24, 2017) ......................................................................... 16, 17, 18

Sprint Communications, Inc. v. Elizabeth S. Jacobs, et al., 134 S.Ct. 584 (2013) .....
  ............................................................................................................. 21, 22, 24

Taylor Inv., Ltd. v. Upper Darby Township, 983 F.2d 1285 (3d Cir. 1993).............4

Tex. Dep't of Hous. & Cmty. Affairs v. Inclusive Cmtys. Project, Inc., 135 S. Ct.
  2507, (2015)..........................................................................................................19

The City of Philadelphia v. Jefferson Beauregard Sessions III, Attorney General of
 the United States, ED. Pa. Docket No. 17-3894...................................................20

Thorpe v. Upper Makefield Twp., 758 Fed. Appx. 258 (3d Cir. 2018) ..............9, 10

Trafficante v. Metropolitan Life Ins. Co., 409 U.S. 205 (1972)..............................13

Tulp v. Educ. Comm'n for Foreign Med. Graduates, 376 F. Supp. 3d 531 (E.D. Pa.
 2019) .......................................................................................................................3

United Artists Theater Circuit, Inc. v. Twp of Warrington, 316 F.3d 392 (3d Cir.
 2003) .......................................................................................................................8

United States v. Columbus Country Club, 915 F.2d 877 (3d Cir. 1990) ................14

Village of Willowbrook v. Olech, 528 U.S. 562 (2000)................................... 11, 12

Wards Cove Packing Co. v. Atonio, 490 U.S. 642 (1989) ......................................19

West v. Atkins, 487 U.S. 42, 48 (1988) .....................................................................7

Williamson County Reg’l Planning Comm’n v. Hamilton Bank of Johnson City,
 473 U.S. 172, 193 (1985) ...................................................................................3, 4

Younger v. Harris, 401 U.S. 37 (1971) ................................................. 21, 22, 23, 24




{HL942263.4}                                                  vi
          Case 2:19-cv-02280-PD Document 22-1 Filed 08/06/19 Page 8 of 38




Statutes

42 U.S.C. § 3602 ......................................................................................................13

42 U.S.C. § 3604(a) .................................................................................................13

42 U.S.C. §1983 .........................................................................................................3




{HL942263.4}                                               vii
          Case 2:19-cv-02280-PD Document 22-1 Filed 08/06/19 Page 9 of 38




        Plaintiff, VisionQuest National, Ltd. (“Plaintiff” or “VisionQuest”) submits

this Memorandum of Law in opposition to the Motion of Defendant, the City of

Philadelphia (“Defendant” or “City”), to Dismiss the Amended Complaint filed in

this matter (the “Motion”).

                                  INTRODUCTION

        This case concerns civil rights violations that arise out of the City’s decision

to uphold a use permit violation that was issued on the basis of the national origin

and familial status of the proposed residents of VisionQuest’s facility. The City’s

conduct violates VisionQuest’s substantive due process rights and the Fair Housing

Act, and deprives VisionQuest of the use of its property and benefit of its

contracts.

                     FACTS AND PROCEDURAL HISTORY

        VisionQuest provides shelter and support facilities for children. Compl. at

¶1.     Beginning in 2010, VisionQuest operated a “Group Living” facility in

Philadelphia for residents between the ages of 13 and 18. Id. ¶¶ 7-8. VisionQuest

operated this Facility pursuant to a permit issued by the Zoning Board of

Adjustment (the “Zoning Board”) and Department of Licenses and Inspections

(“L&I”). Id. ¶ 8, 14, 45.




{HL942263.4}                                1
         Case 2:19-cv-02280-PD Document 22-1 Filed 08/06/19 Page 10 of 38



        In 2018, VisionQuest entered into an agreement with the U.S. Dept. of

Health and Human Services’ Office of Refugee Resettlement (“ORR”) to provide

shelter and support services to 60 unaccompanied and undocumented minors (the

“UAC”). Compl. ¶ 16. When the City learned that VisionQuest proposed to

provide services to the UAC, rather than to United States citizens as it had for the

past 7 years, VisionQuest received a Notice of Violation from the L&I. Id. ¶¶ 32,

33, Ex. K. VisionQuest appealed the Notice of Violation to the Zoning Board. Id.

¶ 34. After a public hearing, during which the Zoning Board considered comments

regarding the national origin of the proposed residents, the Zoning Board denied

the appeal. Id. ¶¶35-42. That decision is currently on appeal to the Philadelphia

Court of Common Pleas.

        On or about May 28, 2019, VisionQuest instituted the above-captioned case

to redress civil rights violations.   On July 2, 2019, VisionQuest filed a First

Amended Complaint. The City filed a Motion to Dismiss on July 23, 2019.

                                     ARGUMENT

        I.      Standard of Review

        “Federal Rule of Civil Procedure 8(a)(2) requires a short and plain statement

of the claim showing that the pleader is entitled to relief, in order to give the

defendant fair notice of what the . . . claim is and the grounds upon which it

rests[.]”      Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (internal

{HL942263.4}                              2
         Case 2:19-cv-02280-PD Document 22-1 Filed 08/06/19 Page 11 of 38



quotations omitted). In analyzing a motion to dismiss, the Court must construe the

complaint in a light most favorable to the plaintiff, and determine whether, under

any reasonable reading of the complaint, the plaintiff may be entitled to relief.

Tulp v. Educ. Comm'n for Foreign Med. Graduates, 376 F. Supp. 3d 531, 538

(E.D. Pa. 2019) (internal quotations omitted.).

        II.    The Controversy Is Ripe for Decision

       The recent United States Supreme Court decision in Knick v. Township of

Scott Pennsylvania, 588 U. S. ___ (2019), dispels the notion that a grievant, in the

context of a federal taking under the Fifth Amendment, must exhaust state

remedies prior to initiating a federal suit under 42 U.S.C. §1983. That analysis

extends to the substantive due process issues raised in this matter.

       In Knick, the Court reviewed prior jurisprudence regarding procedural

prerequisites to federal takings claims under the Fifth Amendment. 588 U.S. ___.

The Court overruled Williamson County Reg’l Planning Comm’n v. Hamilton

Bank of Johnson City, 473 U.S. 172, 193 (1985), which had held “that a property

owner whose property has been taken by a local government has not suffered a

violation of his Fifth Amendment rights – and thus cannot bring a federal takings

claim in federal court – until a state court has denied his claim for just

compensation under state law.” Id. at *1. In reversing Williamson, the Court in

Knick reiterated its holding in Heck v Humphrey, 512 U.S. 477, 480 (1994): “The

{HL942263.4}                              3
         Case 2:19-cv-02280-PD Document 22-1 Filed 08/06/19 Page 12 of 38



Civil Rights Act of 1871, after all, guarantees ‘a federal forum for claims of

unconstitutional treatment at the hands of state officials,” and the settled rule is that

‘exhaustion of state remedies ‘is not a prerequisite to an action under [42 U.S.C.]

§1983.’” Knick, 588 U.S. *21.

       Moreover, even if Knick had not overruled this requirement, the

administrative exhaustion requirement poses no barrier to the instant action. In

Taylor, 983 F.2d at 1289, and Sameric, 142 F.3d at 970, there was never a final

denial of the permit application. See also CMR D.N. Corp. v. City of Philadelphia,

703 F.3d 612 (3d Cir. 2013) (plaintiff claim unripe because plaintiff never applied

for a building permit); Acierno v. Mitchell, 6 F. 3d 970 (3d Cir. 1993) (also called

into question by Knick, but holding matter not ripe for adjudication because

plaintiff did not appeal denial of building permit); Midnight Sessions, Ltd. v. City

of Philadelphia, 945 F.2d 667 (3d Cir. 1991) (matter not ripe for adjudication

because plaintiff did not appeal citations).

       These facts are entirely distinct from the matter at hand. In each of the cases

cited by Defendant, the grievant failed to obtain a final determination from the


1
   Prior to Knick, the Third Circuit had held that in cases involving land-use
decisions, a property owner does not have a ripe, constitutional claim until the
zoning authorities have had “an opportunity to ‘arrive[ ] at a final, definitive
position regarding how [they] will apply the regulations at issue to the particular
land in question.’” Sameric Corp., Delaware v. City, Philadelphia, 142 F.3d 582,
597 (3d Cir. 1998) (citing Taylor Inv., Ltd. v. Upper Darby Township, 983 F.2d
1285, 1291 (3d Cir. 1993) (citing Williamson, 473 U.S. 172)).
{HL942263.4}                               4
         Case 2:19-cv-02280-PD Document 22-1 Filed 08/06/19 Page 13 of 38



relevant zoning authority. In none of those cases, however, was the plaintiff

required to undergo an entirely new permitting process prior to seeking redress for

a wrongful, final zoning determination on an existing use permit. Nor were the

plaintiffs required to exhaust state judicial appeals subsequent to the zoning

board’s determination.

       Here, Defendant notes that Court of Common Pleas has not “decided the

veracity” of the Zoning Board of Adjustment’s decision.            Def. Brief at 11.

Defendant thereby seems to be suggesting that Plaintiff must exhaust all state court

appeals, far beyond the Zoning Board’s decision, in order to be deemed to have

exhausted administrative remedies. The City cites no authority to support the bold

assertion that litigation in the Court of Common Pleas is part of the administrative

exhaustion process. In fact, the Third Circuit has held to the contrary in Sameric

Corp., Delaware v. City, Philadelphia, 142 F.3d 582 (3d Cir. 1998) (zoning board

of adjustment’s decision is final determination). Nor is there any authority for the

proposition that a new use permit must be sought prior to seeking federal

adjudication of the constitutional merits of a denial under an existing permit.2

       The administrative history of this action, for purposes of determining

ripeness for suit in federal court, is straightforward and undisputed. The City

2
   The substantive due process claim raised in this Court is not before the state
court. Plaintiff’s appeal of the Zoning Board of Adjustment’s decision is limited to
the propriety of the Zoning Board of Adjustment’s decision as a matter of state
law.
{HL942263.4}                              5
         Case 2:19-cv-02280-PD Document 22-1 Filed 08/06/19 Page 14 of 38



issued a Notice of Violation in connection with Plaintiff’s intended use of its

facility to provide housing to the UAC pursuant to a contract with the federal

government, and Plaintiff appealed to the Zoning Board, which denied the appeal.

The Zoning Board’s denial resulted in a final administrative determination. The

Court should reject Defendant’s claim that Plaintiff cannot seek legal redress for

the City’s wrongful use determination, which pertains to an existing use permit,

until Plaintiff initiates and concludes an entirely new use permit process.

        III.   Plaintiff Has Standing to Pursue a Claim Under 48 U.S.C. §1983
               for Violation of its Substantive Due Process Rights

       Defendant argues that Plaintiff, through its substantive due process claim,

seeks to vindicate rights of its potential adolescent residents, as opposed to its own

rights. Defendant misstates Plaintiff’s claim. The Complaint refers to Defendant’s

unconstitutional deprivation of Plaintiff’s property rights for the purpose of

discriminating against a protected class of individuals of foreign nationality;

however, that discriminatory conduct is not cited for the purpose of seeking legal

redress for the protected class of individuals themselves.3 Rather, Defendant’s

discriminatory decision is cited because it had the effect of denying Plaintiff the

continued right to operate within the confines of its existing use permit, and

3
  The effect of a ruling in Plaintiff’s favor may inure to the benefit of the protected
class; however, that consequence is irrelevant for purposes of assessing the claim
before the Court; namely, Plaintiff’s substantive due process rights to a specific
land use interest.
{HL942263.4}                              6
         Case 2:19-cv-02280-PD Document 22-1 Filed 08/06/19 Page 15 of 38



depriving Plaintiff of a substantive due process right in its own land interest.

Defendant’s wrongful decision caused Plaintiff concrete and particularized injury,

and forms a sufficient basis for the substantive due process violation claim.

               A. Plaintiff Asserts a Substantive Due Process Claim on Its Own
                  Behalf

       A plaintiff may seek redress for a violation of constitutional rights pursuant

to 42 U.S.C. §1983. Baker v. McCollan, 443 U.S. 137, 144 (1979). The initial

inquiry in a §1983 suit is “(1) whether the conduct complained of was committed

by a person acting under color of state law and (2) whether the conduct deprived

the complainant of rights secured under the Constitution or federal law.” Sameric,

142 F.3d at 590 (citing West v. Atkins, 487 U.S. 42, 48 (1988); Mark v. Borough

of Hatboro, 51 F.3d 1137, 1141 (3d Cir. 1995)). When complaining of violations

of substantive due process rights, “a plaintiff must prove that the governmental

authority acted to ‘infringe a property interest encompassed by the Fourteenth

Amendment.’”       Acierno v. Cloutier, 40 F.3d 597, 616 (3d Cir. 1994) (citing

Midnight Sessions, Ltd. v. City of Philadelphia, 945 F.2d 667, 679 (3d Cir. 1991)).

Ownership of property is a recognized property interest under the Fourteenth

Amendment. DeBlasio v. Zoning Board of Adjustment, 53 F.3d 592, 601 (3d Cir.

1995). (“Indeed, one would be hard-pressed to find a property interest more

worthy of substantive due process protection than ownership.”).



{HL942263.4}                              7
         Case 2:19-cv-02280-PD Document 22-1 Filed 08/06/19 Page 16 of 38



       To prevail in a substantive due process claim arising from a municipal land

use decision, a plaintiff must establish that it has a property interest that is

protected by the Fourteenth Amendment, and that the government’s decision in

imposing on that interest shocks the conscience. Cherry Hill Towers LLC v.

Township of Cherry Hill, 407 F. Supp. 2d 648, 654 (D.N.J. 2006) (citing United

Artists Theater Circuit, Inc. v. Twp of Warrington, 316 F.3d 392, 399-400 (3d Cir.

2003). When the basis for the deprivation is discrimination against a protected

class, strict scrutiny must be applied in reviewing the basis of the governmental

action. Adarand Constructors, Inc. v. Pena, 515 U.S. 200, 227 (1995).

       Whether governmental action in violation of constitutional rights shocks the

conscience is necessarily a fact intensive inquiry. See Assocs. in Obstetrics &

Gynecology v. Upper Merion Twp., 270 F. Supp. 2d 633, 654 (E. D. Pa. 2003); see

also Kobrick v. Stevens, 2017 U.S. Dist. LEXIS 141694, at *14 (M.D. Pa. Sept. 1,

2017). “The exact degree of wrongfulness necessary to reach the ‘conscience-

shocking’ level depends upon the circumstances of a particular case.” Miller v.

City of Philadelphia, 174 F.3d 368, 375 (3d Cir. 1999). When “a state actor has

time to deliberate prior to committing the offending behavior, the standard for

conscience-shocking behavior is lower than it would be in ‘hyperpressurized

situations’ that afford no time to consider the action.” Assocs. in Obstetrics &




{HL942263.4}                             8
         Case 2:19-cv-02280-PD Document 22-1 Filed 08/06/19 Page 17 of 38



Gynecology, 270 F. Supp. at 654 (quoting Estate of Smith v. Marasco, 318 F.3d

497, 509 (3d Cir. 2003)).

       Race-based discriminatory enforcement of zoning ordinances is a classic

example of conscience shocking behavior. Thorpe v. Upper Makefield Twp., 758

Fed. Appx. 258, at 262 (3d Cir. 2018); Rittenhouse Entm't, Inc. v. City of Wilkes-

Barre, 861 F. Supp. 2d 470, 487 (M.D. Pa. 2012) (allegation of intentionally

injurious conduct motivated by racial bias would shock the conscience); Ecotone

Farm LLC v. Ward, 639 Fed. Appx. 118 at 125 (3d Cir. 2016) (decisions motivated

by bias against an ethnic group shock the conscience); MARJAC, LLC v. Trenk,

380 Fed. Appx. 142, 147 (3d Cir. 2010) (overturning summary judgment where

complaint alleged selective enforcement of ordinance motivated by ethnic bias).

       In this matter, Plaintiff’s substantive due process property interest in its

existing use permit is not disputed. Plaintiff operated a youth housing facility for

years without issue under a permit duly issued by the City. It was only when

Plaintiff announced its intention to house the UAC – who are all, by definition, of

foreign nationality, as opposed to the prior juvenile residents of the facility, who

were already present in the United States – that the City determined to issue a

notice of violation to Plaintiff. At a hearing before the Zoning Board, public

comment was made regarding the nationality and origin of the potential residents

of the Plaintiff’s facility, questioning, for instance, why the UAC would be


{HL942263.4}                             9
         Case 2:19-cv-02280-PD Document 22-1 Filed 08/06/19 Page 18 of 38



afforded accommodation when local children’s various needs had not been

satisfied to the community members’ standards. The hearing board members

openly indicated that they would take the community members’ comments into

consideration.

       Plaintiff has alleged racial and ethnic motivations for the decision of the

Zoning Board, an allegation that is supported by the facts alleged in the complaint.

Under Thorpe, these motivations “certainly shock the conscience.” The Zoning

Board had time to deliberate prior to committing the offending behavior          The

influx of migrant families entering the county is an issue that has gained national

attention.     See Compl. at ¶ 26.   VisionQuest’s facility would help address a

recognized emergency situation, and provide safe housing for an extremely

vulnerable subset of migrants, but for the City’s improper actions.

        Defendant argues improper alternate facts in its Motion in an effort to

suggest that Plaintiff’s interpretations of the statements and actions of the Zoning

Board are incorrect.     This is inappropriate in a Motion to Dismiss, where

allegations of motive and intent in discrimination are inherently fact-sensitive. See

Solt v. Alpo Petfoods, 837 F. Supp. 681, 683-84 (E.D. Pa. 1993). Plaintiff should

be permitted to take discovery regarding the discriminatory intent of the Zoning

Board. See Cornell Cos. v. Borough of New Morgan, 512 F. Supp. 2d 238, 269

(E.D. Pa. 2007) (“[t]he need for discovery before testing a complaint for factual


{HL942263.4}                             10
         Case 2:19-cv-02280-PD Document 22-1 Filed 08/06/19 Page 19 of 38



sufficiency is particularly acute for civil rights plaintiffs, who often face

informational disadvantages. Plaintiffs may be unaware of the identities and roles

of relevant actors and . . . unable to conduct a pre-trial investigation to fill in the

gaps.”).

        Plaintiff is not required to prove its claim in its Complaint, and the factual

determinations the City calls upon the Court to make at this juncture are both

premature and inappropriate, given the current state of the record. Fowler v.

UPMC Shadyside, 578 F.3d 203, 213 (3d Cir. 2009) (internal citation omitted)

(“Even post-Twombly, it has been noted that a plaintiff is not required to establish

the elements of a prima facie case but instead, need only put forth allegations that

raise a reasonable expectation that discovery will reveal evidence of the necessary

element.”).     Accordingly, the Complaint is more than sufficient to survive

Defendant’s Motion to Dismiss under 12(b)(6).

               B. Plaintiff has Standing to Assert a Claim as a “Class of One”
                  Under the Equal Protection Clause of the Constitution

       The Equal Protection Clause provides that a state government shall not “deny

to any person within its jurisdiction the equal protection of the laws.” In Village of

Willowbrook v. Olech, 528 U.S. 562 (2000), the Supreme Court held that the

Equal Protection Clause protects individuals, as well as vulnerable groups and

fundamental rights from vindictive state action. Id. at 564.



{HL942263.4}                              11
         Case 2:19-cv-02280-PD Document 22-1 Filed 08/06/19 Page 20 of 38



       Plaintiff has asserted an equal protection claim as a “class of one”. Id.. Such

claims require that “the individual plaintiff alleges intentional and disparate

treatment compared to others similarly situated and that there is no rational basis

for the difference in treatment.” Id. at 564. An individual plaintiff can challenge

such treatment on the basis that it is “is irrational and wholly arbitrary.” Id. at 565.

       Plaintiff has alleged facts that demonstrate that Defendant’s treatment of it

differed from similarly situated entities.        Indeed, Defendant’s treatment of

Plaintiff’s property interest was much different when Plaintiff offered services to

non-refugee youth residents, as opposed to the UAC.              Thus, the Amended

Complaint contains sufficient factual allegations to state a claim for an Equal

Protection, class-of-one violation.

        IV.    The Court Should Deny Defendant’s Motion to Dismiss Plaintiff’s
               Claims Under the Fair Housing Act

        Defendant argues that Plaintiff’s claim under the Fair Housing Act, 42

U.S.C. § 3604 (a) (“FHA”) must be dismissed because 1) “a custodial facility for

Unaccompanied Children” is not a “dwelling” covered by the FHA, 2) Plaintiff

does not sufficiently articulate facts in support of disparate treatment, and 3)

Plaintiff does not identify any policy that disparately impacts a protected group.

Defendant’s arguments are without merit.




{HL942263.4}                               12
         Case 2:19-cv-02280-PD Document 22-1 Filed 08/06/19 Page 21 of 38



               1. The Court Should Not Dismiss Plaintiff’s FHA Claim Based
                  Upon Defendant’s Improper, Fact-Sensitive Argument that the
                  Proposed Facility is Not a “Dwelling” Under the FHA.

        The FHA provides that “it shall be unlawful . . . to . . . make unavailable or

deny, a dwelling to any person because of race, color, religion, . . . or national

origin.” 42 U.S.C. § 3604(a). Under the FHA, “‘dwelling’ means any building,

structure, or portion thereof which is occupied as, or designed or intended for

occupancy as, a residence by one or more families . . . .” 42 U.S.C. § 3602(b). An

“aggrieved person” under the FHA is “any person who…claims to have been

injured by a discriminatory housing practice.” 42 U.S.C. 3602(i). “[C]omplaints

by private persons are the primary method of obtaining compliance with the [Fair

Housing Act],” and are to be construed “in terms broad.”               Trafficante v.

Metropolitan Life Ins. Co., 409 U.S. 205, 208-209 (1972).4


4
  Defendant does not appear to dispute the fact that Plaintiff has standing to assert
a claim under the FHA. Indeed, Plaintiff’s standing under the FHA is clearly
established by extensive precedent. See Havens Realty Corp. v. Coleman, 455
U.S. 363, 379 (1982) (nonprofit fair housing organization had standing to argue
that apartment complex owner’s racial steering practices frustrated organization’s
counseling and referral services and posed concrete injury, far more than simply a
setback to organization’s “abstract social interests”); Dr. Gertrude A. Barber Ctr.,
Inc. v. Peters Twp., 273 F. Supp. 2d 643 (W.D.Pa. 2003) (company in business of
providing housing for handicapped persons that has been prevented from doing so
due to alleged discrimination has standing to sue under FHA); In ReMed Recovery
Care Ctrs. v. Township of Willistown, 36 F. Supp. 2d 676 (E.D. Pa. 1999)
(plaintiff engaged in business of providing treatment and rehabilitation services to
handicapped persons denied application for variance had standing as “aggrieved
person”); Berry v. John Doe Managers, 1991 U.S. Dist. LEXIS 10159 (E.D.Pa. Jul.
22, 1991) (Fair Housing Council of Delaware had standing to sue under the FHA
{HL942263.4}                              13
         Case 2:19-cv-02280-PD Document 22-1 Filed 08/06/19 Page 22 of 38



        The Third Circuit has held that two factors must be considered to determine

whether a specific facility is a “dwelling” under the FHA. First, a court must

determine whether the facility is intended or designed for occupants who “intend to

remain in the [facility] for any significant period of time.” Lakeside Resorts

Enters., LP v. Bd. of Supervisors, 455 F.3d 154, 158 (3d Cir. 2006) (quoting

United States v. Columbus Country Club, 915 F.2d 877 (3d Cir. 1990)). Second, a

court must determine whether those occupants would “view [the facility] as a place

to return to” during that period. Id.

        In Lakeside Resorts, the Third Circuit held that a drug and alcohol treatment

center was a dwelling under the FHA. With respect to the first prong of the test,

the Court found that the average stay at the center was 14.8 days, which was

sufficient to constitute a “significant period of time.” Id. With respect to the

second prong, testimony established that the residents “return[ed] to their rooms in

the evening”, received mail, hung pictures in their rooms, had visitors and

generally “made it their ‘residence’” while residing there. Therefore, the second

prong was also met. Id.

        Halfway houses and group homes have repeatedly been determined to

constitute “dwellings” under the FHA. Schwarz v. City of Treasure Island, 544

F.3d 1201 (11th Cir. 2008) (six halfway houses were like homes, where residents

because allegations of economic loss and impairment of ability to provide persons
with housing referrals were sufficient injury to establish standing).
{HL942263.4}                              14
         Case 2:19-cv-02280-PD Document 22-1 Filed 08/06/19 Page 23 of 38



stayed on average between 6-10 weeks, and residents not required to leave halfway

houses after completing treatment); Connecticut Hosp. v. City of New London,

129 F. Supp. 2d 123 (D. Conn. 2001) (nature of the plaintiffs’ occupancy

resembles that of a resident far more than that of a hotel guest). Similarly, homes

for migrant workers have also been determined to constitute “dwellings” under the

FHA.           Homeless shelters have even, in some instances, been considered

“dwellings” under the FHA. See e.g. Cmty. House, Inc. v. City of Boise, 490 F.3d

1041 (9th Cir. 2007) (noting previous application of the FHA to homeless shelters,

but declining hold that all temporary shelters will automatically fit within the

FHA’s definition of ‘dwelling,’ and that inquiry is fact sensitive); but see Johnson

v. Dixon, 786 F. Supp. 1 (D.D.C. 1991), (doubtful that an “emergency overnight

shelter” is a “dwelling”, but noting FHA anti-discrimination provisions applied to

shelters for the homeless for purposes of addressing motion for a preliminary

injunction).

        In contrast, Courts have found that motels, bed and breakfasts and jails are

not dwelling units. Patel v. City of Belleville, Ill., 720 F. Supp. 720 (S.D. Ala.

1979) (motel not dwelling); Schneider v. County of Will, 190 F. Supp. 2d 1082

(N.D. Ill. 2002) (bed and breakfast not a dwelling); Garcia v. Condarco, 114 F.

Supp. 2d 1158 (D.N.M. 2000) (jail not dwelling). In Garcia, the Court noted that a

jail is designed as a detention facility, not a “residence,” and further noted that the


{HL942263.4}                              15
         Case 2:19-cv-02280-PD Document 22-1 Filed 08/06/19 Page 24 of 38



primary purpose of a jail is to provide just punishment, adequate deterrence,

protection of the public, and correctional treatment. Id. at 1160-1161.

        The lead case that Defendant cites in support of its argument that the

Plaintiff’s facility is not a “dwelling” is an unpublished case in which the Court

denied the defendant’s motion for summary judgment in a matter involving a

similar set of facts. In Southwest Key Programs, Inc. v. City of Escondido, 2017

U.S. Dist. LEXIS 42618 (S.D.Cal. Mar. 24, 2017), the plaintiff unsuccessfully

applied for a conditional use permit from the city. The plaintiff sought to convert a

former skilled nursing facility located in a residential zone into a custodial facility

for unaccompanied alien children (“UAC”), who had been taken into custody at the

border and had been transferred to custodial facilities by the ORR while awaiting

resolution of their immigration proceedings.5

        The Court in Southwest noted that a “variety of structures were within the

FHA such as drug and alcohol rehabilitation centers, a residential school for

emotionally disturbed adolescents, a residential child care facility, a group home

for needy and dependent children, and student housing.” Id. at *5. The Court held

that it must “view the facts and draw all reasonable inferences in the light must


5
    Notably, the court’s decision in Southwest did not address any purported
obligation by the plaintiff to exhaust further appeals at the state level prior to filing
its federal civil rights complaint. There was no suggestion that the plaintiff’s civil
rights complaint was not ripe for decision before the federal court, or that further
state level remedies needed to be exhausted.
{HL942263.4}                               16
         Case 2:19-cv-02280-PD Document 22-1 Filed 08/06/19 Page 25 of 38



favorable to the non-moving party,”, and that “faced with two reasonable

conclusions from the cases and the facts, there is a triable issue of material fact on

whether the facility is a dwelling under the FHA and FEHA.” (internal citations

and quotations omitted). The Court elaborated:

               Since the FHA was intended to provide “for fair housing throughout
               the United States,” 42 U.S.C. § 3601, the Court concludes that further
               development of the record will be useful to determine whether
               Plaintiff Southwest Key’s proposed facility was custodial or a
               dwelling. Schwarz, 544 F.3d 1201 (FHA liberally construed.). As a
               result, the Court denies Defendant’s motion for summary judgment on
               the FHA and FEHA claims.

Southwest, 2017 U.S. Dist. LEXIS 42618, at *14-15.

        Defendant likens Plaintiff’s residential facility to a jail solely because the

proposed minor residents would not be able to come and go as they please at all

hours of the day and night. Defendant ignores the fact that there is no “corrective”

aspect to the facility whatsoever. There is no punitive, rehabilitative, or protective

purpose in play. Moreover, the notion of restricted movement, in and of itself,

may be common to any number of “dwellings,” be they group homes or drug

rehabilitation centers, where residents may have limitations on their ability to come

and go at whim. Restrictions on movement would certainly be present at a facility

that provides housing to minors.

        Simply stated, the fact of some restriction in a facility that provides housing

to juvenile residents cannot be the end of the inquiry under Lakeside Resorts; an


{HL942263.4}                               17
         Case 2:19-cv-02280-PD Document 22-1 Filed 08/06/19 Page 26 of 38



inquiry which, under any circumstance, should not be prematurely undertaken at

the pleadings or even the summary judgment stage. See Southwest, 2017 U.S.

Dist. LEXIS 42618. The existence of some restriction on movement, consistent

with that which may be present in other approved d

        wellings under the FHA, and absent any punitive purpose, does not warrant

summary dismissal of Plaintiff’s claim under the FHA, a statute that must be

interpreted in the broadest possible terms.

               2. Plaintiff Has Met the Pleading Standards to Assert a Claim for
                  “Disparate Treatment” Under the FHA, Where Plaintiff has
                  Alleged that it was Prevented from Providing Residential
                  Housing Services Based Upon the National Origin or Familial
                  Status of its Proposed Residents.

        The facts asserted in support of Plaintiff’s claim under the FHA for disparate

treatment are more than sufficient under Twombly/Iqbal. Plaintiff has clearly

alleged that the City cited Plaintiff for a use violation as a result of the foreign

nationality and/or familial status of the facility’s proposed residents. Plaintiff has

alleged that it provided similar housing services to juvenile individuals of domestic

origin without citation, and that the factor that distinguishes the prior residents and

the proposed unaccompanied minors is a protected class distinction. This targeted

violation constitutes grounds for a disparate treatment claim.

               3. Plaintiff Has Met the Pleading Standards to Assert a Claim for
                  “Disparate Impact” Under the FHA, where Plaintiff has
                  Alleged that it was Prevented from Providing Residential
                  Housing Services Based upon the National Origin or Familial
{HL942263.4}                              18
         Case 2:19-cv-02280-PD Document 22-1 Filed 08/06/19 Page 27 of 38



                 Status of its Proposed Residents, and Where the City has
                 Express Policies in Place Regarding Federal Immigration
                 Enforcement Efforts.

        Plaintiffs are permitted to make claims under the FHA based upon “disparate

impact.” Tex. Dep't of Hous. & Cmty. Affairs v. Inclusive Cmtys. Project, Inc.,

135 S. Ct. 2507, 2511 (2015) (“Recognition of disparate-impact liability under the

FHA also plays a role in uncovering discriminatory intent: it permits plaintiffs to

counteract unconscious prejudices and disguised animus that escape easy

classification as disparate treatment.”). A disparate-impact claim that “relies on a

statistical disparity must fail if the plaintiff cannot point to a defendant’s policy or

policies causing that disparity.” Id. at 2523 (citing Wards Cove Packing Co. v.

Atonio, 490 U.S. 642, 653 (1989)).

        While Plaintiff’s claim does not rely merely upon “statistical disparity,”

Defendant nonetheless argues that Plaintiff’s claim should fail under a disparate

impact theory because Plaintiff can only cite to one instance of alleged wrongful

conduct, and cannot point to any specific policy that arguably factored into the

City’s decision to violate Plaintiff for its intended use of its facility for

unaccompanied minors. This is incorrect.

        The Amended Complaint does not explicitly refer to a City policy regarding

undocumented persons within Philadelphia; however, the Court may take judicial

notice of various City policies regarding federal immigration enforcement.          See


{HL942263.4}                              19
         Case 2:19-cv-02280-PD Document 22-1 Filed 08/06/19 Page 28 of 38



generally, The City of Philadelphia v. Jefferson Beauregard Sessions III, Attorney

General of the United States, ED. Pa. Docket No. 17-3894, Memorandum re:

Motion for Preliminary Injunction, Docket Entry No. 74, at *30 (Nov. 15, 2017)

(Philadelphia is a “welcoming city”); Id. at *31 (City policy to protect

confidentiality of information for undocumented individuals who are “law

abiding”); Id. at *30 (prohibition on inquiring into immigration status subject to

exceptions, consistent with mission to safeguard population, not to engage in

immigration enforcement).6

        The City has indeed enacted policies by which the City, in a stated effort to

maintain a welcoming atmosphere for immigrant communities, has declined to

participate in federal immigration efforts perceived by the City to violate that

policy. To be clear, Plaintiff takes no issue with the lawfulness of those policies,

in and of themselves, in this matter. However, the City’s actions – citing Plaintiff

for attempting to act upon a contract with the federal government to provide

residential services to undocumented minors, having never cited Plaintiff for

providing nearly identical services to lawful resident children for years without

issue – certainly appear on their face to be connected to Defendant’s policy not to

play host to federal policies related to undocumented immigrants that have not


6
  See full opinion at
https://images.law.com/contrib/content/uploads/documents/402/6861/Baylson-
Opinion.pdf.
{HL942263.4}                              20
         Case 2:19-cv-02280-PD Document 22-1 Filed 08/06/19 Page 29 of 38



committed any crimes. Plaintiff should have the opportunity to take discovery

with respect to these policies and their connection to the state action at issue here.

        V.     The Court Should Retain Jurisdiction Over This Dispute, Which
               Impacts Plaintiff’s Federal Rights and Implicates Important
               Issues of Federal Policy

        VisionQuest brings this matter to redress serious violations of its due process

and equal protection rights as well as violations of its rights under the Fair Housing

Act.     Moreover, the City’s actions exacerbate a humanitarian crisis involving

efforts to provide much needed housing to children.              This tribunal is the

appropriate forum for redress of these constitutional and federal claims, and this

Court should not take the extraordinary step of abstaining from hearing them.

               1. No Extraordinary Circumstances Exist to Justify Abstention
                  Under Younger

        There are no exceptional circumstances that would warrant abstention under

the Younger doctrine. “[F]ederal courts have a ‘virtually unflagging’ obligation to

hear and decide cases within their jurisdiction.”        ACRA Turf Club, LLC v

Zanzuccki, 748 F.3d 127, 138 (3d Cir. 2014) (quoting Sprint Communications, Inc.

v. Elizabeth S. Jacobs, et al., 134 S.Ct. 584, 591 (2013)). The abstention doctrine

set forth in Younger v. Harris, 401 U.S. 37 (1971) affirms a federal district court’s

discretion to abstain from exercising jurisdiction in limited circumstances, which,




{HL942263.4}                               21
         Case 2:19-cv-02280-PD Document 22-1 Filed 08/06/19 Page 30 of 38



in the civil context, include only proceedings “akin to criminal prosecutions”, such

as “civil enforcement proceedings. Sprint, 134 S.Ct. at 587.

        The state court proceedings in this matter not quasi-criminal, and therefore

fall outside of Younger’s ambit.         Courts consider the following factors to

determine whether a state proceeding is quasi-criminal:

               (1) [whether] the action as commenced by the State in its sovereign
               capacity, (2) [whether] the proceeding was initiated to sanction the
               federal plaintiff for some wrongful act, and (3) [whether] there are
               other similarities to criminal actions, such as a preliminary
               investigation that culminated with the filing of formal charges. . . .
               [and (4)] whether the State could have alternatively sought to enforce
               a parallel criminal statue.

ACRA Turf Club, LLC, 748 F.3d at 138.

        None of these circumstances are present. See e.g., Matheny Sch. & Hosp. v.

Borough of Peapack & Gladstone, 2014 U.S. Dist. LEXIS 117786 (D.N.J. August

25, 2014) (declining to abstain from hearing civil rights claims arising out of denial

of approval of site plan in state court action).

        In Sprint, the pending state action was initiated by the federal court plaintiff

as an appeal of a state administrative agency decision, and the federal complaint

sought declaratory relief on a question of preemption. Sprint, 134 S. Ct. at 588.

The Supreme Court held that the appeal pending in the state court was not invoked

to sanction the federal plaintiff for wrongful conduct; rather it was invoked to settle

a dispute between two parties. Id. at 592-93. Here, VisionQuest, not the City,


{HL942263.4}                               22
         Case 2:19-cv-02280-PD Document 22-1 Filed 08/06/19 Page 31 of 38



initiated the state court action as an appeal of a notice of violation. The pending

state court appeal focuses on whether the Plaintiff’s use of its facility to house

unaccompanied minor children is a new use requiring a variance or whether the use

constitutes an existing use under the permit issued to Plaintiff in 2010.

        Likewise, in ACRA, the federal plaintiff was served with a notice by the

state administrative agency. ACRA, 748 F.3d at 138-39. Pursuant to the notice,

the federal plaintiff was advised that sanctions and potential revocation of licensure

would result from plaintiff’s failure to make progress towards licensing its

additional facilities. Id. at 140. Here, similarly, the notice of violation advised

Plaintiff of the possibilities of fines and penalties to accrue if a new variance was

not obtained and of the possible revocation or suspension of certain licenses and

permits. See Compl., Ex. I7. In ACRA, the Supreme Court found that a similar

notice “in no way resembles the initiation procedures employed . . . in cases where

the Supreme Court has applied Younger. . . .[N]egative consequences are not the

same thing as sanctions.”    Here, the Notice of Violation, which warns of potential

future negative consequences, is a far cry from the ordinance being enforced in

Peters v. City of Wilkes-Barre, 2016 U.S. Dist. LEXIS 9540 (M.D. Pa. Jan. 27,

2016), which, when enforced, immediately strips a rental unit of its certificate of


7
  The notice specifically advises: “Your failure to correct the violations may also
result in the City filing a legal action against you to obtain compliance, an
injunction and the imposition of fees and fines.” Id. (emphasis added).
{HL942263.4}                              23
         Case 2:19-cv-02280-PD Document 22-1 Filed 08/06/19 Page 32 of 38



occupancy.       In this case, the state proceeding is not a “civil enforcement

proceeding”, nor is it quasi-criminal in nature. Therefore, Younger does not apply.

        Even if the Court concludes that the proceedings here are “quasi-criminal”,

that does not end the inquiry.        As set forth in Sprint, the following factors

supplement the Younger analysis once the threshold of “quasi-criminal”

proceeding is met: (1) whether there is an ongoing state judicial proceeding, which

(2) implicates important state interests, and (3) provides an adequate opportunity to

raise federal challenges. Sprint, 134 S.Ct. at 593.

        In this federal case, Plaintiff does not challenge the zoning ordinance itself,

but rather challenges the discriminatory, arbitrary and capricious manner in which

the ordinance has been applied to it. See Selig v. N. Whitehall Twp. Zoning

Hearing Bd., 2018 U.S. Dist. LEXIS 69119 *13-14 (E.D. Pa. April 24, 2018)

(challenges regarding application of land use policies usually do not implicate

important state interests; whether zoning board’s conduct violated plaintiff’s due

process rights will not implicate state interests in regulating and overseeing land

use policies). Thus, this federal action is not a land-use case; it is a civil rights case

and a case to vindicate the Plaintiff’s rights under the Fair Housing Act.

        Although “land use” proceedings may involve important state interests, a

§1983 claim regarding unconstitutional acts is not considered to implicate

important state interests. Addiction Specialists, Inc. v. Township of Hampton, 411


{HL942263.4}                               24
         Case 2:19-cv-02280-PD Document 22-1 Filed 08/06/19 Page 33 of 38



F.3d 399, 410-11 (3d Cir. 2005) (abstention inappropriate because determination of

whether land use authority deprived party of substantive due process does not

implicate on the zoning policies themselves or the validity of the underlying

ordinance); Gynedd Props., Inc. v. Lower Gwynedd Twp., 970 F.2d 1195, 1203

(1992) (declining to abstain under Younger where the claims related to application

of land-use ordinances to deprive the plaintiff of federal rights); Schoenstein v.

Constable, 2014 U.S. Dist. LEXIS 165508 *21 (D.N.J. Nov. 26, 2014) (declining

to abstain where plaintiff alleged that state’s enforcement of applicable law was

discriminatory, and such federal statutory rights do not implicate state interests).

        With respect to the third factor referenced by the Supreme Court in Sprint,

the state court proceeding in the case at bar does not provide an adequate

opportunity to raise the federal claims asserted herein. Because this proceeding

stems from an appeal of a notice of violation, the Zoning Board did not have

jurisdiction to decide questions of infringement of constitutional rights.8 Second,

Plaintiff is not required to seek redress of its constitutional claims in the state court.


8
   The City has cited to 2 Pa. C.S.§753 for the proposition that Plaintiff is required
to litigate its constitutional issue in state court. In fact, §753 is permissive and
allows, but does not require, a litigant to raise the validity of the ordinance in an
appeal and precludes raising the issue if not raised to the agency in the first
instance. Here, Plaintiff is not attacking the validity of an ordinance, which
formed the basis for the existing use. Moreover, as noted above, any doubts about
the requirement of Plaintiff to exhaust remedies before the administrative court
before vindicating violations of constitutional rights in a federal court were put to
rest by the recent Supreme Court decision in Knick, infra.
{HL942263.4}                               25
         Case 2:19-cv-02280-PD Document 22-1 Filed 08/06/19 Page 34 of 38



See, e.g., Knick v. Twp. of Scott, Pennsylvania, et al., 138 S.Ct. 1262 (2019)

(noting the “general rule” that plaintiff may bring claims under §1983 without first

bringing a state lawsuit); see also, New Jersey-Philadelphia Presbytery of Bible

Presbyterian Church v. New Jersey State Bd. of Higher Education, 654 F.2d 868,

885 (3d Cir. 1981) (plaintiff’s choice of forum for vindication of federal rights

should be preserved). Finally, adjudication of Plaintiff’s substantive due process

claim will not interfere in the state-court action; therefore, abstention is

inappropriate here. Godfrey v. Upland Borough, 246 F.Supp. 3d 1078, 1094

(E.D.Pa. 2017).

        This case – a civil rights and fair housing case based on the discriminatory

application of a zoning ordinance – falls well outside the boundaries of Younger

and this Court should decline to abstain from hearing it.

               2. The Complaint Raises No Unsettled Question of State Law,
                  Therefore the Pullman Abstention Doctrine Does Not Dictate
                  Abstention in this Case

        The circumstances of this case do not include exceptional circumstances that

would mandate abstention under the Pullman doctrine. Like Younger abstention,

abstention under Railroad Commission of Texas v. Pullman Co., 61 S.Ct. 643

(1941) should be rarely invoked, and only when the following exceptional

circumstances are met: (1) uncertain issues of state law underlying the

constitutional claims; (2) state issues are amenable to a state court interpretation


{HL942263.4}                             26
         Case 2:19-cv-02280-PD Document 22-1 Filed 08/06/19 Page 35 of 38



that could obviate the need to adjudicate or substantially narrow the scope of the

federal claim; and (3) an erroneous construction of state law by the federal court

would disrupt important state policies. Planned Parenthood v. Farmer, 220 F.3d

127, 149-50 (3d Cir. 2000). If all three circumstances are present, the court should

then weigh whether an adequate remedy is available under state law, the length of

time during which litigation has been pending and the impact of delay on the

litigants. Id. at 150; see also, Pierce v. Allegheny County Bd. Of Elections, 324 F.

Supp. 2d 684, 703 (W.D. Pa. 2003).

        The state court action does not turn on an interpretation of state law. The

City argues that the “uncertain” state law at issue is the language in Plaintiff’s

permit, “under the jurisdiction of a court” and the Zoning Board’s interpretation of

the language. The City’s argument, however, is a red herring – the permit at issue

is not ambiguous and a state court cannot plausibly find that it is. The only

difference between the prior use and the current use is the national origin of the

children proposed to reside in the facility. In both situations, the children at issue

are committed to the care of an agency by a referring body, and the agency

contracted with Plaintiff to provide appropriate housing and care. From 2010-

2017, the agency was the Department of Health and Human Services and the

referring body was the Family Division of the Philadelphia Court of Common

Pleas. In 2019, the agency is the Office of Refugee Resettlement , a program of


{HL942263.4}                             27
         Case 2:19-cv-02280-PD Document 22-1 Filed 08/06/19 Page 36 of 38



the Administration for Children and Families, an office within the United States

Department of Health and Human Services.

        Here, the resolution of the federal claim hinges not on the interpretation of a

state or local ordinance or even on local zoning law, but whether the notice of

violation was served on Plaintiff, and upheld by the Zoning Board, for an improper

and discriminatory purpose. The case does not depend on the meaning of “under

the jurisdiction of a court.” The children housed in the facility from 2010-2017

were undeniably under the jurisdiction of the Family Court. The fact that the two

uses of the property are so analogous is merely evidence of the discriminatory

intent of the City in denying Plaintiff’s the ability to continue to use their property.

        The second question is whether the ordinance at issue is “obviously

susceptible of a limiting construction” that would eliminate the constitutional issue

and terminate the litigation. Chez Sez III Corp. v. Union, 945 F.2d 628, 632-33

(3d Cir. 1991). As the City admits in its Motion, “if the state courts interpret the

disputed phrase in VisionQuest’s favor, it would potentially have a more tenable

constitutional claim.” See Docket Entry 12, Mot. at p. 24. Here, even if the state

court finds that the unaccompanied minor children are “under the jurisdiction of a

court” the question of whether or not the exclusion of the unaccompanied minor

children from this facility is discriminatory will remain.




{HL942263.4}                               28
         Case 2:19-cv-02280-PD Document 22-1 Filed 08/06/19 Page 37 of 38



        Likewise, the third Pullman factor is not met. Even if this Court determines

that Plaintiff is entitled to all relief sought in its Amended Complaint, that finding

would have no impact on the state court appeal regarding the interpretation of the

zoning ordinance. Plaintiff’s relief lies not in the resolution of the state court

appeal, but in the adjudication of the question of whether the Zoning Board’s

action, in affirming the notice of violation, deprived Plaintiff of its substantive due

process rights and violated the FHA and gave rise to damages accrued to Plaintiff

for the applicable period. Because the resolution of the issue pending before the

Pennsylvania courts will not, as a matter of course, remedy the constitutional

issues raised by Plaintiff in this case, the third Pullman factor is not met.

        Finally, even if this Court finds that all of the factors weigh in favor of

abstention under Pullman, it should stay, and not dismiss, the case. The Pullman

doctrine “requires retention of jurisdiction to preserve the plaintiffs' choice of a

forum for the vindication of federal rights clearly infringed by the state

construction ultimately adopted.” New Jersey-Philadelphia Presbytery of Bible

Presbyterian Church, 654 F.2d at 885; Kessler Inst. For Rehabilitation v. Mayor of

Essex Fells, 876 F. Supp. 641, 657-58 (D.N.J. 1995); ACS Enters. V. Comcast

Cablevision, L.P., 1994 U.S. Dist. LEXIS 6256 at *24 (E.D. Pa. May 12, 1994)

(“in abstaining under Pullman, the District Court does not abdicate its role in




{HL942263.4}                               29
         Case 2:19-cv-02280-PD Document 22-1 Filed 08/06/19 Page 38 of 38



determining the issues of federal law involved in the case; rather it merely

postpones its adjudication of those issues …”).

                                   CONCLUSION

        For the foregoing reasons, it is respectfully submitted that Defendant’s

Motion to Dismiss the Amended Complaint should be denied. Should the Court

determine that any aspect of the Complaint is insufficiently plead, Plaintiff

respectfully requests dismissal without prejudice and with leave to amend.

        Plaintiff respectfully requests oral argument.

Dated: August 6, 2019                                    Respectfully submitted,

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{HL942263.4}                               30
